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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                               :
 SYMBOINT SCIENCE, ENGINEERING                 :
 AND CONSTRUCTION, INC.; ZURICH                :
 AMERICAN INSURANCE COMPANY                    :
 a/s/o Symbiont Science, Engineering and       :
 Construction, Inc.; AMERICAN                  : Case No. 3:22-cv-04905-MAS-LHG
 GUARANTEE AND LIABILITY                       :
 INSURANCE COMPANY, a/s/o Symbiont             :
 Science, Engineering and Construction, Inc.;  :
 and STEADFAST INSURANCE                       :
 COMPANY a/s/o Symbiont Science,               :
 Engineering and Construction, Inc.,           :
                                               :
                       Plaintiffs,             :
     vs.                                       :
                                               :
 GROUND IMPROVEMENT SERVICES,                  :
 INC.; JOHN DOES 1-10, (fictitious parties)    :
 and ABC COMPANIES 1-10 (fictitious            :
 parties); GEOSTRUCTURES OF                    :
 VIRGINIA, INC.,                               :
                                               :
                       Defendants.             :
                                               :
 GROUND IMPROVEMENT SERVICES,                  :
 INC. and GEOSTRUCTURES, INC.,                 :
                                               :
                       Third-Party Plaintiffs, :
       vs.                                     :
                                               :
 GEOPIER FOUNDATION COMPANY,
                                               :
 INC., and GZA GEOENVIRONMENTAL,
                                               :
 INC.,
                                               :
                                               :
                       Third-Party Defendants.

             THIRD-PARTY COMPLAINT BY DEFENDANTS GROUND
           IMPROVEMENT SERVICES, INC. and GEOSTRUCTURES, INC.
               AGAINST GEOPIER FOUNDATION COMPANY, INC.


      Defendants/Third-Party Plaintiffs Ground Improvement Services, Inc. (“GIS”) and
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GeoStructures, Inc. d/b/a GeoStructures of Virginia, Inc. (“GeoStructures,” collectively with GIS,

“Third-Party Plaintiffs”), by their undersigned counsel, for their Third-Party Complaint against Third-

Party Defendants Geopier Foundation Company, Inc. (“Geopier”) allege as follows:

                                              PARTIES

        1.      GIS is a corporation organized under the laws of the State of Delaware with its

 principal place of business located in Virginia.

        2.      GeoStructures is a corporation organized under the laws of the Commonwealth of

 Virginia with its principal place of business located in Virginia.

        3.      Upon present information and belief, Geopier is a corporation organized under the

 laws of the State of Georgia with its principal place of business located in North Carolina.

        4.      Upon present information and belief, Geopier is registered to do business in New

 Jersey and regularly conducts business in New Jersey.

                                          JURISDICTION

        5.      The Court has subject matter jurisdiction over Third-Party Plaintiffs’ claims under

 28 U.S.C. § 1367(a) because they are so related to the Plaintiffs’ claims that they form part of the

 same case or controversy under Article III of the United States Constitution.

        6.      The Court has subject matter jurisdiction over Third-Party Plaintiffs’ claims under

 28 U.S.C. § 1332 because there is complete diversity of citizenship between Third-Party

 Plaintiffs and Third-Party Defendants.

        7.      GIS is a citizen of Delaware and Virginia, GeoStructures is a citizen of Virginia,

 Geopier is a citizen of Georgia and North Carolina, and GZA is a citizen of Massachusetts.

        8.      Further, the Court has subject matter jurisdiction over Third-Party Plaintiffs’ claims

 under 28 U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest

 and costs.
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                                                 VENUE

         9.      Venue is proper in this district under the doctrine of ancillary venue and pursuant

 to 28 U.S.C. § 1391(b)(2) and (b)(3) in that a substantial part of the events or omissions giving

 rise to the claim occurred in this district and that Third-Party Defendants are subject to personal

 jurisdiction in this district with respect to this action.

                                                  FACTS

         10.     GIS is a contractor that provides, among other things, ground improvement

 construction services.

         11.     GeoStructures provides ground improvement design services to GIS.

         12.     Geopier is a service provider that franchises certain rights pursuant to sublicensing

 agreements.

         13.     Trenton Biogas, a food waste recycling and renewable energy company sought to

 build a food waste recycling and renewable energy facility in Trenton, New Jersey.

        14.      Plaintiff Symboint Science, Engineering and Construction, Inc. (“Symbiont”) was

the design-build contractor for Trenton Biogas, and entered into a contract for the digester design,

permitting and construction services on the project.

         15.     On or about August 17, 2017, GIS and Geopier entered into a sublicensing

 agreement titled “Impact Pier Sublicensing Agreement.” (“Sublicensing Agreement”).

         16.     A true and accurate copy of the Sublicensing Agreement will be filed under

 seal as Exhibit A.

         17.     On or about January 30, 2018, GIS submitted Quotation/Contract No. 1 (the

 “Quotation”) to Symbiont, offering to perform design and construction services for the

 installation of elements for foundation support for tanks at a facility owned by Trenton Biogas.

         18.     A true and accurate copy of the Quotation is attached hereto as Exhibit B.
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        19.     On or about February 8, 2018, Symbiont and GIS entered a Subconsultant

 Professional Services Agreement (“Subconsultant Agreement”) where GIS agreed to perform

 certain soil improvement design services. The Quotation was incorporated into the

 Subconsultant Agreement.

        20.     A true and accurate copy of the Subconsultant Agreement is attached hereto as

 Exhibit C.

        21.     The Sublicensing Agreement states, in part, as follows:

                [Geopier] have developed, own and have exclusive rights to
                various technologies, know-how and intellectual property for the
                design, construction, testing and use of various kinds of foundation
                improvements and vertical soil stabilizing and reinforcement
                means known as the “Impact Pier System” …

        22.     In their Sublicensing Agreement, Geopier granted a license to GIS to install and use

 Geopier’s design methodologies.

        23.     The Sublicensing Agreement provides that, upon request and for a fee, Geopier

 would perform “Quality Control services” – peer review services - of GIS’s designs.

        24.     Under the Sublicensing Agreement, GIS was also required to “purchase,

 construct, or lease all necessary Impact Pier apparatus including hoppers, mandrels, and

 tamper heads which comply with all of [Geopier’s] standards and specifications.”

        25.     A “Symbiont/Subcontractor Change Order” (“Change Order”) was signed by

 Symbiont on May 30, 2018, and by GIS on June 6, 2018.

        26.     A true and accurate copy of the “Change Order” is attached herto as Exhibit

 D.

        27.     GIS’s design was performed in compliance with Geopier’s design and

 construction requirements, was peer-reviewed by Geopier, and was constructed with the
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 equipment and methodologies directed by Geopier.

        28.     The Sublicensing Agreement with Geopier also required GIS to include the

 following note on plans that utilized Geopier designs:

                “THIS DRAWING CONTAINS INFORMATION
                PROPRIETARY TO THE GEOPIER FOUNDATION
                COMPANY, INC. AND ITS LICENSEES, AND IS BEING
                FURNISHED SOLELY FOR USE BY GROUND
                IMPROVEMENT SERVICES, INC. IN CONNECTION WITH
                THE PROJECT DESCRIBED ON THIS DRAWING. THE
                INFORMATION CONTAINED HEREIN IS NOT TO BE
                TRANSMITTED TO ANY OTHER ORGANIZATION OTHER
                THAN THE PROJECT DESIGN TEAM UNLESS
                SPECIFICALLY AUTHORIZED IN ADVANCE, IN WRITING
                BY GEOPIER FOUNDATION COMPANY, INC. AND/OR
                GEOCONSTRUCTORS, INC. OR BY AN AUTHORIZED
                IMPACT PIER LICENSEE.”

        29.     The Sublicensing Agreement with Geopier also includes an indemnity obligation

 of the Licensor, Geopier, where Geopier agreed to “defend, indemnify and hold harmless [GIS],

 its affiliates…from and against any and all losses, damages, costs, expenses, liabilities,

 obligations and claims of any and every kind…which [GIS] may at any time suffer or incur, or

 become subject to, as a result of or in connection with…any failure of [Geopier] to carry out,

 perform, or otherwise fulfill or comply with…this Agreement; or…any negligent act or omission

 of [Geopier]….”

        30.     Article VI of the Sublicensing Agreement, titled “OBLIGATIONS OF

 LICENSOR” states, in relevant part, as follows:

                    “F. Indemnification by Licensor. Licensor shall defend,
                indemnify, and hold harmless Licensee, its affiliates, and their
                respective successors and assigns, officers, directors, employees,
                and other representatives (each, individually, a “Licensee
                Indemnitee,” and collectively, “Licensee Indemnified Parties”)
                from and against any and all losses, damages, costs, expenses,
                liabilities, obligations and claims of any and every kind,
                (including, without limitation, reasonable attorneys’ fees)
                (collectively, “Claims”) which Licensee Indemnified Parties any at
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                 any time suffer or incur or become subject to, as a result of or in
                 connection with:

                    (i) any breach of the representations or warranties made by the
                        Licensor in or pursuant to this Agreement;

                    (ii) any failure by any Licensor to carry out, perform, or
                         otherwise fulfill or comply with any covenant, agreement,
                         undertaking, or obligation under this Agreement; or

                    (iii) any negligent act or omission of Licensor, its agents,
                          contractors, servants, or employees (but not including any
                          negligent act or omission of Licensee, or its agents,
                          contractors, (other than Licensee), servants or employees).”


        31.      The Sublicensing Agreement is governed and construed in accordance with the

 laws of the state of North Carolina.

        32.      On or about October 12, 2022, Plaintiffs Symbiont, Zurich American Insurance

 Company a/s/o Symbiont Science, Engineering and Construction, Inc, American Guarantee and

 Liability Insurance Company a/s/o Symbiont Science, Engineering and Construction, Inc, and

 Steadfast Insurance Company a/s/o Symbiont Science, Engineering and Construction, Inc., filed

 a Second Amended Complaint against GIS and GeoStructures of Virginia, Inc.

        33.      A true and accurate copy of the Second Amended Complaint is attached as

 Exhibit E.

        34.      In the Second Amended Complaint, Plaintiffs allege causes of action including, but

 not limited to, malpractice, negligence, breach of contract, breach of express and implied

 warranties, and seek indemnification as well as other damages.

                                       COUNT ONE
                                   BREACH OF CONTRACT
        35.      Third-Party Plaintiffs repeat and reallege the preceding paragraphs as if fully set

 forth herein.
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         36.     Geopier is contractually obligated to defend, indemnify and hold harmless Third-

 Party Plaintiffs from and against all losses, damages, costs, expenses, liabilities, obligations, and

 claims in accordance with the terms of the Sublicensing Agreement.

         37.     Geopier is contractually obligated to indemnify Third-Party Plaintiffs for costs,

 including but not limited to, reasonable attorneys’ fees in accordance with the terms of the

 Sublicensing Agreement.

         38.     Geopier is contractually obligated to indemnify Third-Party Plaintiffs for any

 breach of the representations or warranties made by Geopier pursuant to the Sublicensing

 Agreement.

         39.     Third-Party Plaintiffs deny that they are liable to the Plaintiffs for the claims

 asserted in the Second Amended Complaint.

         40.     However, if Third-Party Plaintiffs are liable to the Plaintiffs, such liability was

 caused, or contributed to, by the acts or omissions of Geopier.

         41.     In accordance with Article VI of the Sublicensing Agreement, notice of

 indemnification obligations under the Sublicensing Agreement was delivered by Third-Party

 Plaintiffs to Geopier.

         42.     Geopier has failed to defend and indemnify Third-Party Plaintiffs pursuant

 to the Sublicensing Agreement.

         43.     Geopier is in breach of its obligations owed to the Third-Party Plaintiffs.

         44.     Geopier is liable for any judgment that Plaintiffs obtain against Third-Party

 Plaintiffs in this action, plus all costs, losses, damages, expenses, liabilities, and obligations,

 including, but not limited to attorneys’ fees.

         45.     Third-Party Plaintiffs have suffered damages due to Geopier’s breach.
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        WHEREFORE, Third-Party Plaintiffs demand judgment against Geopier for

 compensatory damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.

                                            COUNT TWO
                                           CONTRIBUTION

        46.      Third-Party Plaintiffs repeat and reallege the preceding paragraphs as if fully set

 forth herein.

        47.      Third-Party Plaintiffs deny that they are liable to the Plaintiffs for the claims

 asserted in the Second Amended Complaint.

        48.      However, if Third-Party Plaintiffs are liable to the Plaintiffs, the damages allegedly

 sustained by the Plaintiffs resulted from the acts or omissions of Geopier.

        49.      Pursuant to the Joint Torfeasors Contibution Law, N.J.S.A 2A:53A-1 and under the

 Comparative Negligence Act, N.J.S.A. 2A:15-5.1, Third-Party Plaintiffs demand contribution

 against Geopier.

        50.      Alternatively, under the North Carolina Contribution Amongst Joint Tortfeasors

 Act, Third-Party Plaintiffs demand contribution against Geopier.

          WHEREFORE, Third-Party Plaintiffs demand judgment against Geopier for Contribution,

and such other relief as the Court deems just and equitable.

                                           COUNT THREE
                                         INDEMNIFICATION

        51.      Third-Party Plaintiffs repeat and reallege the preceding paragraphs as if fully set

 forth herein.

        52.      Third-Party Plaintiffs deny that they are liable to the Plaintiffs for the claims

 asserted in the Second Amended Complaint.

        53.      However, if judgment is awarded against the Third-Party Plaintiffs, Third-Party
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 Plaintiffs’ liability, if any, was not morally culpable but was merely constructive, technical,

 imputed, or vicarious and that liability arose through the direct and primary liability of Geopier.

        WHEREFORE, Third-Party Plaintiffs demand judgment against Geopier for all sums as

 may be found due against it in favor of the Plaintiffs, and such other relief as the Court deems

 just and equitable.

        54.      Third-Party Plaintiffs repeat and reallege the preceding paragraphs as if fully set

 forth herein.

        55.      At all times Geopier owes Third-Party Plaintiffs a duty to use reasonable skill, care,

 and diligence in the performance of its work.

        56.      Geopier breached its duty in its rendering of peer-reviewed services by providing

 equipment and methodologies to the Third-Party Plaintiffs.

        57.      Third-Party Defendants deny that they are liable to the Plaintiffs for the claims

 asserted in the Second Amended Complaint.

        58.      However, if damages are awarded against Third-Party Plaintiffs, they are due to the

 negligence of Geopier.

        59.      Moreover, as a direct, proximate, and foreseeable result of the negligence of

 Geopier, Third-Party Plaintiffs sustained damages, including, but not limited to, substantial costs

 and expenses defending the lawsuit herein.

        WHEREFORE, Third-Party Plaintiffs demand judgment against Geopier for

 compensatory damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.
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                                          JURY DEMAND

        Defendants/Third-Party Plaintiffs Ground Improvement Services, Inc. and Geostructures,

 Inc., hereby demand a trial by jury on all issues.



                                             BY: /s/ John P. Morgenstern
                                               John P. Morgenstern, Esquire
                                                Michael T. Sweeney, Esquire
                                                1717 Arch Street, Suite 3910
                                               Philadelphia, PA 19103
                                               215-461-3300
                                               JMorgenstern@ohaganmeyer.com
                                               MSweeney@ohaganmeyer.com
                                                Attorneys for Defendants/Third Party
                                                Plaintiffs, Ground Improvement Services, Inc.
                                                and GeoStructures, Inc.


 Dated: November 4, 2022
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                              CERTIFICATE OF SERVICE

         I, John P. Morgenstern, Esquire, hereby certify that on the date set forth below, I did

  cause a true and correct copy of the foregoing Third-Party Complaint by Defendants Ground

  Improvement Services, Inc. and Geostructures, Inc. against Geopier Foundation Company, Inc.

  to be filed with the Court’s ECF/PACER electronic filing system, where it was available for

  immediate viewing and download to all counsel of record.




                                          BY: /s/ John P. Morgenstern
                                             John P. Morgenstern, Esquire
                                             Michael T. Sweeney, Esquire


  Dated: November 4, 2022
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                  EXHIBIT A

                 TO BE FILED
                 UNDER SEAL
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                        EXHIBIT B
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Ground Improvement Services, Inc.
PO Box 918
Purcellville, VA 20134
862-763-0468
klevins@geostructures.com



                                  Quotation/Contract No. 1
To:                                   Brian Till
                                      Symbiont (Herein after referred to as Purchaser)
                                      6737 W Washington St.
                                      Milwaukee, WI 53214

Project Name:                         Trenton Biogas
Location:                             Trenton, NJ
GIS Project No.:            7820 RI
Date:                                 January 30, 2018


Bid Documents and Applicable Contract Specifications:
1. Geotechnical Engineering Report, prepared by GZA, dated January 5, 2018.
2. Scope of Work – Soil Improvements, dated July 13, 2016.
3. Foundation Plan Sheet Nos. D-020-S-100, D-020-S-500 prepared by AMEC Foster Wheeler, dated July, 11,
    2016.
4. Structural Drawing Nos. D-000-M-100; D-000-S-010; D-000-S-012; D-000-S-100; D-000-S-101; and D-000-
    S-500, dated July 11, 2016.
5. Trenton Biogas Proposal Refresh – Full Proposal Layout by Disc: 18-April-17 Preliminary

This quotation will expire at midnight on the 20th day after the date of this letter unless signed by the Purchaser
and received by Ground Improvement Services, Inc. (herein referred to as Subcontractor) prior to the expiration
date. The date of Subcontractor’s receipt of the quotation signed by the Purchaser is the “Effective Date” of the
Contract. Subcontractor may withdraw, assign or modify this quotation by notifying the Purchaser prior to the
Effective Date. The pricing contained herein is based on all work being completed within 30 days after the
Effective Date unless otherwise agreed to in writing. The terms and price adjustment needed for work performed
more than 30 days after the Effective Date will be reflected in a written change order executed prior to
Subcontractor beginning or continuing work. This Quotation is predicated on the terms and conditions contain
herein. Once signed by Purchaser, this Quotation and the terms and conditions set forth below will become the
final, binding contract between the parties for the work identified in this Quotation. In the event that this
Quotation is not agreed to as the final contract between the parties and/or these terms and conditions are not
incorporated into the final agreement between the parties, Subcontractor’s price as reflected herein shall not be
binding and Subcontractor shall be afforded an opportunity to revise its price to reflect the modified terms of the
parties’ agreement.

1. SCOPE OF WORK - This contract is based on the installation of Rigid Inclusion (RI) elements for foundation
   support for the proposed Digester Tanks T-12100, T-12200, and T-12300 and Digester Buffer Tank T-10400.
   RI elements will be installed in such a manner that no pad will need to be placed between the top of
   element and the bottom of footing. See Figure 1.

   1.1 Design services as part of this contract will be provided by a professional engineer (P.E.) licensed in the
       State of New Jersey.

   1.2 Mat foundation support for the proposed Digester Tanks and Buffer Tank is included in this pricing.
       Design loads are based on the Allowable Bearing Pressures given in Section 01 10 29 – Scope of Work
       – Ground Improvements. Confirmation of actual loads (i.e.,kips/sqft for supported mat foundations) shall
       be provided by others for final RI design.




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 1.3 RI elements shall be designed for settlement control due to compressive vertical loading only. Footing
     uplift, sliding resistance, and any transient loading should be verified by others.

 1.4 All RI elements are assumed to fully penetrate the uncontrolled fill as depicted in the Geotechnical
     Engineering Report/Soil Boring Logs and terminate in natural soil.

 1.5 Total post construction settlements will be designed in accordance with the contract drawings,
     specifications, and addendum.

 1.6 It has been assumed that there are no new or existing utility conflicts. Subcontractor shall be responsible
     to contact New Jersey 811 prior to RI installation. All other utility location shall be by others. Location and
     coordination of all proposed underground construction, including but not limited to utilities, shall be by
     others such that construction activities shall not damage installed RI elements and that RI elements are
     not in conflict with previous underground construction activities.

 1.7 Grading coordination will be required so that the site shall be provided to Subcontractor at approximately
     existing grade, or at an elevation that requires no more than three feet of overburden drilling (as
     measured from bottom of footing).

 1.8 Installation will take place for all RI elements during one mobilization and the sequence of operations
     shall allow for continuous RI installation. Additional mobilizations required by others can be provided at
     the unit rate below.

 1.9 Union labor will be utilized for the construction of this project. A master mechanic and/or lead operating
     engineer is not included and shall be supplied by others if local labor agreements require them.

 1.10 One (1) modulus test shall be performed to confirm RI design parameters.

 1.11 Purchaser/Owner shall advise subcontractor of any site environmental hazards (surface or subsurface)
      which could affect personnel and/or RI installation procedures and shall coordinate with subcontractor to
      develop an appropriate health and safety plan prior to work start-up if hazards are known to exist.

 1.12 Adequate horizontal and vertical clearance shall be provided by others for the duration of the work. All
      demolition, debris removal, removal or mitigation of any interference with Pier installation such as
      powerlines, building overhangs, signs, above or below ground utilities and structures, underpinning,
      support of excavation operations existing construction, etc., or interference of, or caused by, existing
      structures shall be completed by others prior to Subcontractor mobilization. Purchaser is responsible for
      all additional performance costs and/or additional performance time resulting from site conditions that
      materially affect Subcontractor’s work.

 1.13 Project site shall be available to subcontractor between 7am and 5pm, Monday through Saturday so that
      it may optimize manpower and equipment utilization as required for timely completion of work. It is
      expected that installation of RI elements for mat foundation support will take approximately 21
      working days (after mobilization and installation of modulus test piers). Schedule durations
      provided are approximate and do not include any add alternate work provided below. Installation shall
      commence after completion of modulus test. Production rates provided are in accordance with a
      standard 5-day, 40-hour week. Additional hours, beyond a 40-hour work week, required due to no fault of
      this subcontractor may be subject to additional cost.

 1.14 Subcontractor shall consolidate drill spoils (if pre-drilling or spoil generation is required) at a mutually
      agreed upon location on site within 100 feet of RI installation location.

 1.15 No additional insurance or schedule restrictions for railroad proximity are included in this proposal. GIS
      reserves the right to adjust pricing should any railroad restrictions apply to this work.

 1.16 Subcontractor shall install RI elements to design depth, or refusal on suitable material.

 1.17 Elevations were not provided on the Boring Logs, it was assumed that they were all taken from current
      elevation and that the proposed/existing elevation is the same.
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2. CONTRACT AMOUNT – is based on a lump sum as follows:

    Engineering                                                           $ 47,800
    Mobilization                                                          $ 52,000
    Modulus Test                                                          $ 17,000
    Installation of Digester Tanks (3) RI elements                        $ 418,360
    Installation of Buffer Tank RI elements                               $ 63,750

                  TOTAL CONTRACT AMOUNT =                                 $ 598,910

    The following alternates are also provided:
       Additional Mobilizations:                                          $ 52,000 per each
       Standby time for delays caused by others:                          $   1,760 per crew hour
       Bond:                                                              1.7% of Total Contract Amount

    Engineering Rates (only as authorized by Purchaser):
       Principal                                                          $ 175 per hour
       Professional Engineer                                              $ 125 per hour
       Staff Engineer                                                     $ 85 per hour
       CAD Support                                                        $ 75 per hour
       Administrative Support                                             $ 50 per hour

3. PAYMENT TERMS – Purchaser shall pay Subcontractor in full within thirty (30) calendar days of invoice
   date for all properly completed work for which payment is invoiced. Retention, if any, is due 45 calendar
   days after Subcontractor has properly completed all contracted work provided that Owner has accepted all
   Subcontractor’s work and all required paperwork and documentation has been submitted prior to the 45th
   day. Retention will not be withheld on Engineering services, bond fees or materials broken out separately in
   the Schedule of Values. Such materials must be paid for 30 days after delivery to the project site regardless
   of the pay application cycle. A service charge of 1-1/2% per month is due on any payments not made within
   thirty days of the invoice date. On phased projects or Owner/GC-delayed projects, retention shall not be
   withheld beyond 45 days after Subcontractor has demobilized from the site. The cancellation of Purchaser’s
   contract with Owner will not relieve Purchaser’s obligation to pay for completed work.


4. ADDITIONAL WORK – Unit prices where applicable shall apply to all extra work performed beyond the
   original Contract Amount quantities per Section 2 above, if such work can be performed at the same time
   Subcontractor is working at the site on the original quantities. Subcontractor reserves the right to renegotiate
   any unit prices if it must move equipment back to the site to perform any extra or additional work without prior
   price agreement. Subcontractor is under no obligation to perform any extra or additional work without prior
   price agreement. Subcontractor is entitled to an equitable adjustment in the contract price and/or the time
   available to perform the work as a result of site or subsurface conditions, including modulus test values, that
   differ from those reflected in the soil test borings or the Project Geotechnical Report or from those ordinarily
   encountered and generally recognized as inherent in work of the character provided for in the contract.
   Additional design work will be performed in accordance with the unit rates in paragraph 2 above as directed.
   Additional engineering expenses will be billed at cost plus 10%. Once the Purchaser supplies Subcontractor
   with an executed Change Order for additional work, Purchaser is obligated to pay Subcontractor for all
   properly completed work covered by the executed Change Order per the terms and conditions of Section 3.


5. EXCLUSIONS (to be provided and paid for by others):

    5.1 Access to the site for wheeled and tracked equipment, provide a level, stable working platform,
        safe site and access ramps, if required (into and out of the excavation), trafficable for
        Subcontractor equipment, and a water source on-site within 100 feet of the work area shall be
        provided by others for the duration of the work.

    5.2 Any existing foundation elements, such as drilled shafts, piles, continuous or spread footings, etc., shall
        be located and surveyed by others. The locations shall be provided to the RI designer of record for
        coordination with RI locations where possible. If an existing foundation element is in conflict with a RI

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      element that is unable to be relocated, the existing foundation element (pile, etc.) shall be removed by
      others to a depth of 3 feet below bottom of the RI element.

  5.3 The removal of any underground or above ground obstructions or unsuitable materials, unable to be
      augured through, that inhibit or prevent RI installation using the usual RI foundation installation
      equipment shall be performed by others and controlled fill shall be placed in accordance with the project
      specifications in a timely manner, and the records shall be provided to the RI designer of record.
      Unsuitable materials include but are not limited to cobbles, muck, buried concrete, pipes, utilities,
      boulders, debris, stumps, logs, or trash. Should obstructions or other delays to work caused by others
      prevent RI installation from proceeding in a continuous manner, then Subcontractor shall be reimbursed
      at the crew rate listed in this Quotation (eight-hour minimum per work day) for delay.

  5.4 Proper site drainage and dewatering shall be maintained by others, as necessary, for the duration of the
      work.

  5.5 The center of all RI elements shall be surveyed and staked by others. This shall include furnishing
      existing ground surface elevations on one stake for each isolated footing and at 25-foot intervals within
      continuous footings.

  5.6 Any new fill (including fill that is placed as part of utility excavation(s)) shall be placed by others and shall
      be comprised of readily penetrable material, free of obstructions, and capable of staying open during
      drilling without sidewall collapse, unless otherwise agreed to in writing. All new fill shall be compacted in
      accordance with the project plans and specifications. Settlement of new fill shall be complete prior to RI
      installation. Placement of any open-graded fill prior to RI element installation, including but not limited to
      utility backfill, shall be coordinated by the Purchaser with subcontractor prior to placement. All fill
      placement and compaction records and any settlement monitoring data shall be provided to the RI
      subcontractor under a sealed, signed earthwork completion letter from the Geotechnical Engineer of
      Record prior to mobilization by the RI subcontractor. The completion letter shall state that: all earthwork
      has been performed in accordance with the project plans and specifications, any settlement as a result
      of fill placement is complete, and RI construction can proceed.

  5.7 Any required environmental remediation, handling, or disposal of contaminated spoils shall be by others.

  5.8 Excavation for footings, exposing RI tops, and properly compacting excavation subgrades and RI top
      surfaces in accordance with the RI designer of record’s requirements.

  5.9 Adequate staging areas for equipment setup, maintenance, and breakdown, project administration, and
      portable toilet facilities on site shall be provided by others.

 5.10 Purchaser recognizes that RI elements are part of a patented system protected under U.S. Patents and
      other patents pending. All information furnished regarding RI and RI technology is specifically provided
      to the Purchaser for the purpose of using on this project only and shall not be transmitted to any other
      organization. No license is being granted to Purchaser by this agreement.

 5.11 All drawings of the project foundation plan(s) and any other related drawings necessary to complete the
      design contracted for in this agreement shall be provided in electronic AutoCAD .dwg format by others,
      and at no charge to Subcontractor. If required drawings are not supplied in a timely manner by the
      Purchaser, Subcontractor shall draft the necessary plans from available information and charge
      Purchaser the cost of such work.

 5.12 Maintenance of traffic and/or dust mitigation measures and/or street cleaning of any kind shall be
      provided by others for the duration of the work.

 5.13 Reuse, loading, and/or removal of drill spoils from the site shall be by others. Approximately 200-400
      cubic yards of spoils is expected to be generated by this work which Subcontractor will stockpile onsite
      within 100 feet of the RI work area for use or disposal by others.


 5.14 An area to stockpile aggregate large enough to store a minimum of 120 tons shall be provided by others
      within 100 feet of RI installation areas.

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   5.15 Any 3rd party QA/QC testing or inspection fees, permits, preconstruction surveys, and/or related noise
        and/or vibration monitoring, shall be by others if required.

   5.16 Any project related Liquidated Damages are excluded.

6. LIMIT OF LIABILITY - Subcontractor’s liability for any claims of any nature whatsoever, whether based upon
   contract, tort, or any other theory of recovery, arising out of or relating to this Agreement shall be limited to
   no more than the amount of this Quotation. Subcontractor shall have no liability for any amounts in excess
   of the price of its Quotation, irrespective of the basis for any such claim.
    It should be understood that while RI elements will act to improve footing bearing soils, RI elements will not
    prevent or limit sinkhole formation if conditions for sinkhole activity currently exist or are created in the future.
    Thus, Subcontractor expressly rejects any and all liability for any and all damages incurred as a result of
    sinkhole activity associated with this project.


7. INDEMNIFICATION - Subcontractor agrees to indemnify and save Purchaser harmless from any loss, cost
   or expense claimed by third parties for property damage and bodily injury, including death, caused solely by
   the negligence or willful misconduct of Subcontractor, its agents, employees or affiliates in connection with
   the Work.
    Purchaser agrees to indemnify and save Subcontractor harmless from any loss, cost or expense claimed by
    third parties for property damage and bodily injury, including death, caused solely by the negligence or willful
    misconduct of Purchaser, its agents, employees or affiliates in connection with the Work.
    If the negligence or willful misconduct of both Subcontractor and Purchaser (or a person identified above for
    whom each is liable) is the sole cause of such damage or injury, the loss, cost and expense shall be shared
    between Subcontractor and Purchaser in proportion to their relative degrees of negligence or willful
    misconduct and the right of indemnity shall apply for such proportion.

8. DISPUTES – Any and all claims, disputes, issues, and matters in question arising out of or relating to this
   Agreement, including arbitrability, shall be resolved exclusively and finally by binding arbitration conducted in
   accordance with the Construction Industry Rules of the American Arbitration Association (“AAA”). The
   Parties intend this to be a broad arbitration clause and to invoke the presumption in favor of arbitrability as to
   any ambiguities that may appear in this clause. Issues subject to arbitration include, but are not limited to,
   the following: (a) disputes relating to the existence, validity, interpretation, scope, performance, or
   enforceability of the Agreement; (b) any statutory, tort, or common law claims that may be asserted
   concurrently or independently of the Agreement; and (c) any dispute as to arbitrability. Any arbitration
   conducted in accordance with this clause shall be conducted in Fairfax or Loudoun County, Commonwealth
   of Virginia. The award of the arbitrators shall be final, and judgment on the award may be entered by any
   court having jurisdiction to do so. Costs incurred in the arbitration proceeding, including attorneys’ fees and
   expenses, shall be borne by the prevailing party as determined by the arbitration panel.

As evidenced by the signatures affixed hereto, this Quotation/Contract is accepted according to the terms and
conditions stated herein:




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Ground Improvement Services, Inc.     Symbiont


                                      By:
By:
                (Signature)                            (Signature)



Name:
                                      Name:
               (Print or Type)                        (Print or Type)




Title:                                Title:

Date:
                                      Date:




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   FIGURE 1 – RIGID INCLUSION SUPPORT DETAIL




                                                                             RI‐1




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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  SYMBIONT SCIENCE, ENGINEERING
  AND CONSTRUCTION, INC.; ZURICH
  AMERICAN INSURANCE COMPANY
  a/s/o Symbiont Science, Engineering and
  Construction, Inc.; AMERICAN
  GUARANTEE AND LIABILITY
  INSURANCE COMPANY, a/s/o Symbiont                CIVIL ACTION NO. 3:22-04905
  Science, Engineering and Construction, Inc.
                                                   SECOND AMENDED COMPLAINT
  and STEADFAST INSURANCE
                                                   WITH JURY DEMAND FILED WITH
  COMPANY a/s/o Symbiont Science,
                                                   CONSENT OF OPPOSING COUNSEL
  Engineering and Construction, Inc.,
                                                   PURSUANT TO FRCP 15(a)(2)
  Plaintiffs

  vs.

  GROUND IMPROVEMENT SERVICES,
  INC.; JOHN DOES 1-10, (fictitious parties)
  and ABC COMPANIES 1-10 (fictitious
  parties); GEOSTRUCTURES OF VIRGINIA,
  INC.

  Defendants.


        Plaintiffs, Symbiont Science, Engineering and Construction, Inc.; Steadfast Insurance

 Company, as subrogee of Symbiont Science, Engineering and Construction, Inc.; American

 Guarantee and Liability Insurance Company, as subrogee of Symbiont Science, Engineering and

 Construction, Inc. and Zurich American Insurance Company, as subrogee of Symbiont Science,

 Engineering and Construction, Inc., by and through their counsel, and by way of Complaint, state

 as follows:

                                            PARTIES

        1.      Plaintiff, Symbiont Science, Engineering and Construction, Inc. (“Symbiont”) is a

 corporation organized and existing under the laws of the State of Wisconsin with its principal

 place of business at 6737 W. Washington Street, Suite 3500, West Allis, Wisconsin 53214.
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        2.      Plaintiff, Steadfast Insurance Company (“Steadfast”) is an Illinois corporation

 engaged in the insurance business with a statutory home office located at 1299 Zurich Way,

 Schaumburg, Illinois 60196, and its principal place of business located at 1299 Zurich Way,

 Schaumburg, Illinois 60196. Steadfast operates as a non-admitted surplus lines insurer in New

 Jersey and is authorized to do business in New Jersey.

        3.      American Guarantee and Liability Insurance Company (“AGLIC”) is a New York

 corporation engaged in the insurance business with a statutory home office located at 4 World

 Trade Center, 150 Greenwich Street, New York, NY 10007, and its principal place of business

 located at 1299 Zurich Way, Schaumburg, Illinois 60196. AGLIC is authorized to transact

 business and has transacted business in New Jersey.

        4.      Plaintiff, Zurich American Insurance Company (hereinafter “Zurich”) is a New

 York corporation company engaged in the insurance business with a statutory home office and

 principal place of business located at 1299 Zurich Way, Schaumburg, IL 60196. Zurich is

 authorized to transact business and has transacted business in New Jersey.


        5.      Steadfast, AGLIC and Zurich are hereinafter collectively referred to as Zurich.

        6.      Defendant, Ground Improvement Services, Inc. (“GIS”), is corporation organized

 under the laws of the Commonwealth of Pennsylvania with its principal place of business located

 at 413 Browning Court, Purcellville, Virginia.

        7.      GIS is a consultant that provides, among other things, soil improvement design

 and construction services.

        8.      Defendant, GeoStructures, Inc. of Virginia, Inc. (“GeoStructures”) is a

 corporation organized under the laws of the Commonwealth of Virginia with its principal place

 of business located at 413 Browning Court, Purcellville, Virginia.



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         9.     GeoStructures is a consultant that provides professional services in the

 geotechnical engineering and construction monitoring field including soil and site inspection and

 assessment of soil conditions.

         10.    John Does 1 – 10 and ABC Companies 1 – 10 are fictitious parties and

 Defendants who are entities and/or individuals who have yet to be identified by Plaintiffs as

 Defendants but whose identity as Defendants may be revealed during the period of discovery that

 will occur relative to this action and who may be liable for Plaintiffs’ damages as referenced

 herein. Such individuals/entities may include but are not necessarily limited to manufacturers,

 brokers, salespeople, agents, managers, owners, technicians, shareholders, members, independent

 contractors, customer service representatives, inspectors, engineers, designers, architects and the

 like.

                                              VENUE

         11.    Jurisdiction of this Court arises under 28 U.S.C. §1332 as the matter at issue

 involves claims between citizens of different States, and there is complete diversity and the

 amount in controversy exceeds $75,000.00.

         12.    Venue lies properly in this District pursuant to 28 U.S.C. §1391(b) in that the

 events giving rise to the claims occurred in Mercer County, New Jersey and the within action is

 properly brought in the United States District Court for the District of New Jersey.

                                              FACTS

         13.    Trenton Biogas, LLC is the owner of a Biogas Production Facility (the “Facility”)

 located in Trenton, New Jersey.

         14.    Symbiont is an engineering, consulting, and design-build firm focused on

 environmental and process projects.




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         15.        On December 19, 2018, Symbiont entered into an Engineering, Procurement and

 Construction Contract (“EPC Contract”) with Trenton Biogas pursuant to which Symbiont

 provided to Trenton certain engineering, procurement, and construction management services in

 connection with the construction of an anaerobic digestion and biogas production facility in

 Trenton, New Jersey (“the Facility”).

         16.        The Facility was designed to process food products, pharmaceutical grade

 alcohols, and glycerin to produce methane, compost and fertilizer.

         17.        Symbiont, as a full-service engineering and construction services contractor, had

 the technical capabilities to provide services to Trenton, including engineering, procurement, and

 construction management services at the Facility and start-up assistance with respect to operation

 of the Facility.

         18.        The Facility construction included the construction of four (4) tanks, i.e., three (3)

 digester tanks and one (1) buffer tank.

         19.        The three (3) digester tanks are 1.3 million gallon above ground storage tanks

 with a diameter of 56 feet each and the buffer tank is a 467,000 gallon above ground storage tank

 with a diameter of 36.42 feet.

         20.        On January 5, 2018, GZA GeoEnvironmental, Inc. (“GZA”) issued a

 Geotechnical Engineering Evaluation Report with regard to the Facility property.

         21.        The GZA report indicated that in order to construct the facility the ground would

 need to be stabilized and reinforced due to the existing near surface fill layer being generally

 unsuitable for support of foundations.

         22.        On February 8, 2018, GIS entered into a contract with Symbiont to provide soil

 improvement design services. See Exhibit A, Symbiont/GIS Contract.




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         23.    Pursuant to the Symbiont/GIS Contract, GIS was to design the soil improvement

 system with a maximum Long Term Settlement under the digester and buffer tanks of up to 2

 inches. See Exhibit B, Scope of Work, 2.1.4.3.

         24.    Pursuant to the Symbiont/GIS Contract, GIS was to design the soil improvement

 system with a maximum differential settlement of 1/2 inch. See Exhibit B, Scope of Work,

 2.1.4.4.

         25.    GIS engaged the services of GeoStructures to effectuate the necessary design of

 the soil improvement system.

         26.    The Symbiont/GIS Contract provides that GIS was to obtain insurance naming

 both Symbiont and the Owner, Trenton Biogas, as additional insureds on its Commercial General

 Liability Policy(ies), Contractor’s Pollution Policy(ies), Automobile Liability Policy(ies) and

 Excess/Umbrella Liability Policy(ies). See Exhibit A, Article 13. Insurance.

         27.    The Symbiont/GIS Contract provides that GIS “agrees to indemnify and save

 Symbiont harmless from and against all liability, loss or expense, including costs and attorney’s

 fees, arising out of or in consequence of [GIS’s] failure to obtain the required coverages or to

 meet the other insurance requirements of this Agreement. Id.

         28.    The Symbiont/GIS Contract contains the following Indemnification clause:

                Subconsultant [GIS] agrees, to the fullest extent permitted by law
                to indemnify and hold Symbiont harmless from any and all
                damage, liability or cost (including reasonable attorneys’ fees and
                costs of defense) arising from any lower tier subconsultant’s or
                subcontractor’s negligent acts, errors or omissions in the
                performance of their services/work under this Agreement, to the
                extent that such lower-tier subconsultant or subcontractor is
                responsible for such damages and losses.

 Exhibit A, Article 14. Indemnification.




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         29.     Pursuant to the Symbiont/GIS Contract, all disputes thereunder are to be brought

 in any state or federal court located in New Jersey. See Exhibit A, Article 11. Dispute

 Resolution.

         30.     Further, the Symbiont/GIS Contract is governed and construed in accordance with

 the laws of the State of New Jersey, without reference to conflicts of law principals. See Exhibit

 A, Article 12, Choice of Law.

         31.     On May 30, 2018, Symbiont and GIS entered into a change order for the “Grouted

 impact pier foundation system construction per Ground Improvement Services design documents

 dated 4/4/18 and Ground Improvement Services proposal No. 7820 RI dated 1/30/18. The scope

 of Work includes mobilization, modulus testing, three (3) digester RI elements and one (1) buffer

 tank RI elements. See Exhibit C, Symbiont/Subcontractor Change Order.

         32.     GIS performed the implementation of the soil improvements at the property.

         33.     The ground improvement pier construction occurred through July 2018 and was

 completed in mid-August 2018. As part of the construction scope of work, GIS completed a load

 test on an installed test pier.

         34.     On September 5, 2018, Symbiont received correspondence from GIS that

 indicated that the load test showed compliance with the settlement performance requirements.

         35.     Immediately following the installation of the ground improvement pier system,

 another subcontractor constructed the four tank concrete floor slabs, under a direct contract with

 Symbiont, followed by the erection of bolted steel-based tanks supplied by Schumann Tanks

 under a direct contract with Trenton Biogas.

         36.     From March 2019 through May 2019 the tanks were subject to a water test, i.e.,

 each tank was filled with water to its operating capacity.




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        37.     Upon the initial filling of the tanks, indications of foundation settlement were

 observed through buckling of the elevated steel walkways spanning between the tanks.

        38.     On May 2, 2019, Symbiont notified GIS of the settlement of the tanks and the

 observed damages.

        39.     In June 2019, during several conversations between Symbiont and GIS, GIS

 maintained that following the initial tank filling and loading, settlement should cease.

        40.     After the water test, the tanks were drained, removing the load on the foundation

 system.

        41.     Through the winter of 2019-2020, Trenton Biogas initiated operations slowly

 bringing the tanks into service.

        42.     When the tanks reached full operating capacity in April, 2020 the settlement

 resumed.

        43.     In May 2020, further discussions between Symbiont and GIS commenced.

        44.     At that time, based on the recommendation of the tank supplier, Digesters 1 and 2

 were required to operate at 70% tank level to prevent a catastrophic tank rupture due to the

 excessive differential settlement, and the tank and mixer suppliers recommended operating the

 mixers in Digesters 1 and 2 at 30% of normal operating speed to prevent mixer failure.

        45.     As settlement continued, stress was observed on the ladder and intermediate

 platform structures between Digesters 1 and 2 which provided access and egress to/from the roof

 mounted walkways.

        46.     In July 2020 the ladder and intermediate platform structures were removed and

 replaced with temporary scaffolding and ladders to prevent damage to the structure while




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 maintaining the required operational access. Installation of the temporary scaffolding and ladder

 system was a necessary life safety measure.

        47.     From approximately June 2020 through November 2021, Symbiont was providing

 GIS with survey data collected approximately every two (2) weeks documenting the continued

 settlement.

        48.     As of June 2020, Digesters 1 and 2 had each settled five and a half (5 1/2) inches,

 exceeding the ultimate allowable settlement by almost 200 percent.

        49.     GIS returned to the site in July 2020 and performed additional soil borings. In a

 letter dated September 21, 2020, GeoStructures, GIS’s subsidiary, stated that data from the

 additional borings indicated that Digesters 1 and 2 should be expected to settle more than the two

 (2) inches allowed by GIS contract with Symbiont.

        50.     On November 10, 2020, Trenton Biogas informed Symbiont that due to continued

 tank settlement, the mixer in Digester 1 was out of level tolerance and required re-leveling to

 prevent further damage. Symbiont contacted Schumann, who furnished and installed the mixer,

 to obtain the recommended procedure for re-leveling the mixer.

        51.     Due to GIS’ failure to take responsibility for their contractual obligations, the

 mixer levelling has not yet occurred.

        52.     The differential settlement to date is in the range of six (6) to seven (7) inches.

        53.     Further differential settlement in Digesters 1 and 2 subsided as a result of

 reducing tank levels to 70% but likely still continues.

        54.     Trenton Biogas placed Symbiont on notice of a dispute, as defined in the EPC

 Contract, relating to the settlement of the digester tanks and buffer tank.




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        55.     Pursuant to the Article 20 of the EPC Contract, Trenton Biogas and Symbiont

 engaged in mediation to resolve Trenton Biogas’ claims asserted against Symbiont in regard to

 the settlement of the digester tanks and buffer tank.

        56.     A settlement was reached between Trenton Biogas and Symbiont on February 23,

 2022 whereby Symbiont agreed to pay to Trenton Biogas the total sum of $11,715,000.00 in

 exchange for a full release of all of Trenton Biogas’ claims relating to the settlement of the

 digester tanks and buffer tank.

        57.     Zurich undertook financial responsibility for the loss and claims against Symbiont

 pursuant to its policies of insurance with Symbiont.

        58.     Zurich has expended over $11,715, 000.00 in connection with the claims relating

 to the settlement of the digester tanks and buffer tank.

        59.     Zurich is subrogated to all the rights and remedies that Symbiont has against GIS

 to the extent of the payments made by Zurich to or on behalf of Symbiont in settlement of the

 claims relating to the settlement of the digester tanks and buffer tank as a result of the actions,

 inactions, omissions and failures of GIS and the other defendants.

        60.     Symbiont sustained and incurred additional losses, costs and expenses beyond

 what were paid by Zurich, in excess of $3,285,000.00, and Symbiont faces additional claims by

 Trenton Biogas, totaling in excess of $4,000,000.00 for alleged damages that were also caused

 by the actions, inactions and failure of GIS and the other defendants.

        61.     The additional losses, costs and expenses sustained and incurred by Symbiont

 were a direct and proximate result of the foregoing acts and omissions of GIS and the other

 defendants.




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                                        FIRST COUNT
                                        Plaintiffs v. GIS
                              (Negligence/Professional Malpractice)

         62.     Paragraphs 1 through 61 are repeated as though fully set forth at length herein.

         63.     GIS provided design, planning, engineering, supervisory, and other services with

 regard to the development and construction of a soil improvement system at the Facility, and

 owed the Plaintiffs a duty to exercise that degree of reasonable care, technical skill, ability, and

 diligence ordinarily exercised by engineers and engineering firms in similar circumstances and in

 the planning, designing, supervising, reviewing, inspecting, monitoring, managing, and in

 otherwise providing architectural and engineering services in the development and construction

 of the soil improvement system at the Facility.

         64.     Upon information and belief, John Does 1 – 10 and ABC Companies 1 – 10

 provided general contracting, supervisory, site management, construction, installation, oversight,

 and related services and/or materials with regard to the development and construction of the

 Facility, and owed Plaintiffs a duty to exercise that degree of reasonable care that ordinarily

 would be exercised by ordinary, prudent persons in similar circumstances while providing such

 services relating to the development and construction of the Facility.

         65.     There existed numerous defects and deficiencies in the design and construction of

 the Facility.

         66.     GIS breached the duties of care that it each owed to Plaintiffs and were negligent

 in that it failed to properly design, plan, supervise, manage, install, construct, and/or supply

 adequate services and/or materials for and otherwise breached its duties with respect to the

 design, development and construction of the soil improvement system at the Facility and is

 responsible for the numerous defects and deficiencies.




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        67.     As a direct, proximate and foreseeable result of the negligence of GIS, the

 Plaintiffs have been injured in that portions of the Facility and/or its subcomponents that incurred

 and sustained damages including, but not limited to, the substantial expenses and costs incurred

 to repair and/or replace the defects and deficiencies.

        WHEREFORE, Plaintiffs demand judgment against GIS, jointly, severally and in the

 alternative for compensatory and consequential damages, attorneys’ fees, costs, interest, and

 such other relief as the Court deems just and equitable.

                                      SECOND COUNT
                                       Plaintiffs v. GIS
                       (Breach of Contract, Contractual Indemnification)

        68.     Paragraphs 1 through 67 are repeated as though fully set forth at length herein.

        69.     Pursuant to the express terms of the contracts between GIS and Symbiont, GIS

 expressly agreed to indemnify Symbiont and hold it, its agents and employees harmless from and

 against any and all claims arising from any of GIS’s lower tier subconsultant’s or subcontractor’s

 negligent acts, errors or omissions in the performance of their services/work under this

 GIS/Symbiont Agreement, to the extent that it or such lower-tier subconsultant or subcontractor

 is responsible for such damages and losses.

        70.     Symbiont and Zurich as subrogee of Symbiont, are entitled to contractual

 indemnification from GIS in an amount in excess of $15,000,000.00 as well as attorney fees and

 costs incurred in defending the claims by Trenton Biogas and in bringing this action.

        WHEREFORE, Plaintiffs demand judgment against GIS for compensatory and

 consequential damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.




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                                        THIRD COUNT
                                        Plaintiffs v. GIS
                                  (Breach of Express Warranty)

         71.    Paragraphs 1 through 70 are repeated as though fully set forth at length herein.

         72.    GIS expressly warranted to Symbiont that all materials and equipment furnished

 by GIS in connection with the construction of the soil improvements, and all work performed by

 GIS, would be of good quality, free of faults and defects, and in conformance with the contract

 documents.

         73.    GIS also expressly warranted that that the tanks would not settle more than 2

 inches or have differential settlement of more than ½ inch.

         74.    GIS has breached their express warranties with regard to their work and materials.

         75.    Symbiont and Zurich as subrogee of Symbiont, have been damaged by such

 breaches in that it was exposed to significant liability and incurred substantial costs and counsel

 fees.

         WHEREFORE, Plaintiffs demand judgment against GIS for compensatory and

 consequential damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.

                                       FOURTH COUNT
                                        Plaintiffs v. GIS
                                  (Breach of Implied Warranty)

         76.    Paragraphs 1 through 75 are repeated as though fully set forth at length herein.

         77.    GIS impliedly warranted to Symbiont that it possessed the skill, experience,

 training and expertise to perform the work in accordance with the care and skill customary in the

 construction industry, and that, if selected by Symbiont, it would, in fact, use such care and skill

 in performing their work at the Facility.




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         78.        GIS also impliedly warranted to Symbiont that its work would be of good quality,

 free of defects, in conformity with contract documents, safe, and fit for the intended purposes of

 at the Facility.

         79.        GIS has breached their implied warranties.

         80.        Symbiont and Zurich as subrogee of Symbiont, have been damaged by such

 breaches in that it was been exposed to significant liability in an amount in excess of

 $15,000,000.00 and have incurred substantial costs and counsel fees.

         WHEREFORE, Plaintiffs demands judgment against GIS for compensatory and

 consequential damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.

                                           FIFTH COUNT
                                           Plaintiffs v. GIS
                            (Breach of Contract, Procurement of Insurance)

         81.        Paragraphs 1 through 80 are repeated as though fully set forth at length herein.

         82.        Pursuant to the express terms of the contracts between GIS and Symbiont, GIS

 expressly agreed to procure insurance naming Symbiont as an additional insured.

         83.        GIS failed to do so.

         84.        Symbiont and Zurich as subrogee of Symbiont, are entitled to damages from GIS

 in an amount in excess of $15,000,000.00 that is as a result of GIS’s breach of its express

 contractual insurance provision obligation.

         WHEREFORE, Plaintiffs demand judgment against Symbiont for compensatory and

 consequential damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.




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                                       SIXTH COUNT
                                        Plaintiffs v. GIS
                                  (Common Law Indemnification)

         85.     Paragraphs 1 through 84 are repeated as though fully set forth at length herein.

         86.     Plaintiffs assert the damages sustained by the Plaintiff were the proximate result

 of the negligence, wrongdoing, and/or defective workmanship and products and materials

 provided by GIS, which negligence, wrongdoing, and/or defective work and material were the

 primary and active cause of the Plaintiffs’ alleged damages.

         87.     Plaintiffs are entitled to common law indemnification from GIS in an amount in

 excess of $15,000,000.00 plus attorney’s fees and costs as a result of its wrongdoing.

         WHEREFORE, Plaintiffs demands judgment against GIS for compensatory and

 consequential damages, attorneys’ fees, costs, interest, and such other relief as the Court deems

 just and equitable.

                                       SEVENTH COUNT
                                    Plaintiffs v. GeoStructures
                              (Negligence/Professional Malpractice)

         88.     Paragraphs 1 through 87 are repeated as though fully set forth at length herein.

         89.     GeoStructures provided engineering, surveying, assessment, testing and related

 services with regard to the necessary implementation of the soil improvements at the facility for

 purposes of construction and installation of the three digester tanks and one buffer tank, and

 owed the Plaintiffs a duty to exercise that degree of reasonable care, technical skill, ability, and

 diligence ordinarily exercised by engineers and soil consulting firms in similar circumstances

 including in the services provided and work described above and to provide said services and

 perform said work in a fair and reasonable manner.

         90.     There existed numerous defects and deficiencies in the design and construction of

 the Facility.


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        91.     GeoStructures performed and provided the services and work and owed Plaintiffs

 a duty to exercise that degree of reasonable care that ordinarily would be exercised by ordinary,

 prudent persons in similar circumstances while providing said work and services.

        92.     As a direct, proximate and foreseeable result of the negligence of GeoStructures, ,

 the Plaintiffs have been injured in that portions of the Facility and/or its subcomponents that

 incurred and sustained damages including, but not limited, the substantial expenses and costs

 incurred to repair and/or replace the defects and deficiencies.

        WHEREFORE, Plaintiffs demand judgment against GeoStructures, jointly, severely and

 in the alternative for compensatory and consequential damages, attorneys’ fees, costs, interest

 and such other relief as the Court deems just and equitable.

                                       EIGHTH COUNT
                                   Plaintiffs v. GeoStructures
                                 (Common Law Indemnification)

        93.     Paragraphs 1 through 92 are repeated as though fully set forth at length herein.

        94.     Plaintiffs assert that the damages sustained by the Plaintiffs were the proximate

 result of the negligence, wrongdoing and/or defective workmanship and products and materials

 provided by GeoStructures, which negligence, wrongdoing and/or defective working material

 were the primary and active cause of the Plaintiffs’ damages.

        95.     Plaintiffs are entitled to common law indemnification from GeoStructures in an

 amount in excess of $15,000,000.00 plus attorneys’ fees and costs as a result of its wrongdoing.

                                        NINTH COUNT
                   Plaintiffs v. John Does 1 – 10 and ABC Companies 1 – 10
                              (Negligence/Professional Malpractice)

        96.     Paragraphs 1 through 95 are repeated as though fully set forth at length herein.

        97.     John Does 1 – 10 and ABC Companies 1 – 10 provided general contracting,

 supervisory, site management, construction, installation, oversight, and related services and/or


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 work and/or goods and/or materials with regard to the development and construction of the

 Facility including for purposes of construction and installation of the three digester tanks and one

 buffer tank, and owed the Plaintiffs a duty to exercise that degree of reasonable care, technical

 skill, ability, and diligence ordinarily exercised by entities and persons who perform or provide

 said services, work, goods, and/or materials in similar circumstances including in the services,

 work, goods, and/or materials described above and to do so in a fair and reasonable manner.

         98.     There existed numerous defects and deficiencies in the design and construction of

 the Facility.

         99.     John Does 1 – 10 and ABC Companies 1 – 10 performed and provided the

 services, work, goods, and/or materials described above and owed Plaintiffs a duty to exercise

 that degree of reasonable care that ordinarily would be exercised by ordinary, prudent persons in

 similar circumstances while performing and/or providing said services, work, goods, and/or

 materials.

         100.    As a direct, proximate and foreseeable result of the negligence of John Does 1 –

 10 and ABC Companies 1 – 10, the Plaintiffs have been injured in that portions of the Facility

 and/or its subcomponents that incurred and sustained damages including, but not limited, the

 substantial expenses and costs incurred to repair and/or replace the defects and deficiencies.

         WHEREFORE, Plaintiffs demand judgment against John Does 1 – 10 and ABC

 Companies 1 – 10, jointly, severely and in the alternative for compensatory and consequential

 damages, attorneys’ fees, costs, interest and such other relief as the Court deems just and

 equitable.

                                        TENTH COUNT
                    Plaintiffs v. John Does 1 – 10 and ABC Companies 1 – 10
                                  (Common Law Indemnification)

         101.    Paragraphs 1 through 100 are repeated as though fully set forth at length herein.


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        102.    Plaintiffs assert that the damages sustained by the Plaintiffs were the proximate

 result of the negligence, wrongdoing and/or defective or deficient service, workmanship, goods

 and/or materials performed and/or provided by John Does 1 – 10 and ABC Companies 1 – 10,

 which negligence, wrongdoing and/or deficient or defective goods and/or materials the primary

 and active cause of the Plaintiffs’ damages.

        103.    Plaintiffs are entitled to common law indemnification from John Does 1 – 10 and

 ABC Companies 1 – 10 in an amount in excess of $15,000,000.00 plus attorneys’ fees and costs

 as a result of its wrongdoing.

                                  DEMAND FOR JUDGMENT

        WHEREFORE, Plaintiffs demand judgment against the Defendants as follows:

                1.      That judgment be entered the Defendants;

                2.      That the Defendants be held jointly and severally liable to Plaintiffs to the

                fullest extent allowed by law;

                3.      For an award damages in excess of $15,000,000.00 according to Plaintiffs’

                proof at trial;

                4.      For an award of attorney’s fees to the fullest extent allowed by law ;

                5.      For and award of the costs of suit; and

                6.      For such other and further relief to which Plaintiff may be justly entitled.

                                         JURY DEMAND

        Plaintiffs hereby demand a trial by jury as to all issues so triable raised herein.




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                                    COZEN O’CONNOR PC


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                                          Insurance Company

                                    THE MILUN LAW FIRM, LLC


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        S V M B I O N X                                                                                 FORM SDB-3 02-2016
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                                                SYMBIONT® DESIGN-BUILD, LLC
                                                      SUBCONSULTANT
                                             PROFESSIONAL SERVICES AGREEMENT


       THIS AGREEMENT is entered into this 8^ day of February. 2018. by and between Symbiont Design-Build, LLC
       (Symbiont) and Ground Improvement Services Inc. (Subconsultant).

       WHEREAS, Symbiont has entered into a written agreement, (the Contract) with Trenton Biogas. LLC (the Owner) for
       Digester Foundation Design and Permitting Services (the Project).

       WHEREAS, Subconsultant represents that it can provide soil improvement design services, described in the Scope of
       Work of Attachment 1.

       Symbiont and the Subconsultant have agreed that the Subconsultant will perform the following services, which are part
       of the Contract identified above. The services covered by this Agreement will be performed in accordance with the
       provisions included within this form and any attachments or schedules.

       Article 1. Scope of Work

       Subconsultant shall perform the services, specified in the Scope of Work section of Attachment 1, which are reasonably
       necessary and appropriate for the effective and prompt fulfillment of the Subconsultant’s obligations under this
       Agreement. The relationship between the Subconsultant and Symbiont created under this Agreement is that of principal
       and independent contractor. Services provided by the Subconsultant shall be subject to the provisions of this
       Agreement including these general conditions, and supplemental conditions incorporated herein, and any written
       amendments agreed to by both parties.

       Symbiont may adjust the Scope of Work by either adding to or deleting from the services to be performed. If such
       adjustment increases or decreases the cost or time required for the Subconsultant's Scope of Work, adjusted
       compensation and/or time will be mutually agreed upon in writing. Additional services provided by the Subconsultant
       will be entitled to additional compensation or extension of time only as authorized in writing by Symbiont. (See Article
       24. Change Orders.)

       Article 2. Compensation

       Symbiont shall pay the Subconsultant for work performed under this Agreement in accordance with the provisions
       described herein and in the Compensation section of Attachment 1.

       Subconsultant shall submit invoices to Symbiont in accordance with the Compensation section of Attachment 1 and no
       more frequently than monthly unless called for in Attachment 1. Invoices shall be submitted to the attention of
       Symbiont's project manager indicating the project number noted on Attachment 1 at the following address:

                Symbiont
                6737 West Washington Street, Suite 3440
                Milwaukee, Wisconsin 53214

       Following Owner's payment to Symbiont, payment will be made by Symbiont to Subconsultant within 15 days for the
       approved invoice amount. Subconsultant invoices received after the 5,h of the month will not be invoiced to Owner until
       the middle of the following month, which may result in delay in payment. If Symbiont objects to all or any portion of an
       invoice, Symbiont shall so notify the Subcontractor within fourteen (14) calendar days of the invoice date, identify the
       cause of disagreement, and pay when due that portion of the invoice, if any, not in dispute. In the event that Symbiont
       and the Subconsultant cannot resolve the dispute regarding invoiced amounts within thirty (30) days (or in a time frame
       mutually agreed to by both parties) after receipt by the Subconsultant of the aforementioned notice, the dispute shall
       be submitted to dispute resolution pursuant to Article 11, below.

       Symbiont may, at its sole discretion, withhold payment to Subconsultant for failure of Subconsultant to provide a
       Certificate of Insurance pursuant to Article 13 below. Symbiont may withhold or offset payment to Subconsultant for
       failure to provide all lien waivers and other documents pursuant to Article 16 below.




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       Article 3. Confidentiality

       Symbiont and Subconsultant shall hold confidential all business or technical information obtained from the other or its
       affiliates or Client/Owner under this Agreement for a period of five (5) years after obtaining such information, and during
       that period shall not disclose such information without the disclosing party’s consent except to the extent required for
       (1) performance of services under this Agreement; (2) compliance with professional standards of conduct for
       preservation of the public safety, health and welfare; (3) compliance with any law, regulation, ordinance, subpoena,
       court order or governmental request; or (4) protection of the disclosing party against claims or liabilities arising from
       performance of services under this Agreement. In the event disclosure may be required for any of the foregoing
       reasons, the disclosing party will, except where immediate
       notification is required by law or regulation or is, in the judgment of Symbiont’s counsel required to limit Symbiont’s
       liability, notify the other party in advance of disclosure. The parties’ obligations hereunder shall not apply to information
       in the public domain or information lawfully acquired on a non-confidential basis from others.

       Article 4. Independent Contractor Relationship

       The Subconsultant shall serve as an independent consultant to Symbiont and shall have control over and be
       responsible for the means and methods for providing services under this Agreement. Nothing contained in this
       Agreement will create any contractual relationship between the Owner and Subconsultant.

       The Subconsultant acknowledges and agrees that it will not be an agent of Symbiont and will not have nor represent
       or hold itself, or allow any of its employees, agents, or Subconsultants to represent or hold itself or himself, out as
       having authority to bind Symbiont or to incur any obligation whatsoever on behalf of Symbiont. Symbiont shall not be
       liable to any party in any way for any engagement, obligation, commitment, contract, representation or transaction or
       any act or omission to act of the Subconsultant as provided in this Agreement.

       Article 5. Representation and Warranty

       The Subconsultant represents and warrants to Symbiont that the Subconsultant is experienced in the provision of the
       services to be performed under this Agreement and that such services shall be of a quality and a type usually and
       customarily provided by Subconsultants performing similar services in and around the locale of the project site.

      If under this Agreement the Subconsultant performs any design services, Subconsultant represents and warrants to
      Symbiont that such design services shall be performed by and/or under the direction of an appropriately registered
      professional engineer or architect licensed to practice in the state of the subject project. The registered professional
      shall, upon completion of the design, stamp and certify all plans, specifications, calculations, etc. to certify his or her
      professional role in the project,

      Article 6. Timeliness of Performance

      The Subconsultant acknowledges that time is of the essence in completing its services under this Agreement.

      Article 7. Force Majeure

      Neither party to this Agreement will be liable to the other party for delays in performing the Scope of Work, or for the
      direct or indirect cost resulting from such delays, that may result from labor strikes, riots, war, acts of governmental
      authorities, extraordinary weather conditions or other natural catastrophe, or any other cause beyond the reasonable
      control or contemplation of either party.

      In the event either party to the Agreement has knowledge of any actual or potential delay, that party shall notify the
      other party in writing of such cases in delay and its probable extent.

      Article 8. Suspension

      The Subconsultant will, upon ten (10) days written notice from Symbiont suspend, delay or interrupt all or a part of the
      Scope of Work. In such event, the Subconsultant will resume the Scope of Work upon written notice from Symbiont
      and an appropriate extension of time shall be mutually agreed upon and added to the Subconsultant’s time of
      performance.




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           Article 9. Termination

           Symbiont will have the right to immediately terminate this Subconsultant Agreement at its discretion upon written notice.

           This Agreement may be immediately terminated by either party upon written notice in the event of substantial failure
           by the other party to perform in accordance with the terms hereof. After termination, Subconsultant will be
I
           submission to Symbiont of detailed supporting invoices.         Subconsultant will not be entitled to profit or other
           compensation on services not performed.

           Either party may terminate this Agreement immediately upon written notice to the other party in the event that the other
           party becomes insolvent, files a petition in bankruptcy, is adjudicated bankrupt, has an assignee, referee, receiver or
           trustee appointed in any creditor action, has a petition in bankruptcy filed against it which is not vacated within thirty
           (30) days or suffers any analogous action.

          Article 10. Notice to Parties

          All notices required or permitted under this Agreement shall be in writing and shall be made to the parties’ usual place
          of business.

          Article 11. Dispute Resolution

          Symbiont and Subconsultant shall provide written notice of a dispute within a reasonable time after the event giving
          rise to the dispute. Symbiont and Subconsultant agree to negotiate any dispute between them in good faith for a period
          of 30 days following such notice. Symbiont and Subconsultant may agree to submit any dispute to mediation, but such
          mediation shall not be required as a prerequisite to initiating a lawsuit to enforce this Agreement. Either party shall
          have the right to litigate the claim, dispute or other matter in question in any state or federal court located in New
          JersevMilwaukee County. Wisconsin. In connection therewith, each party agrees to submit to the jurisdiction of such
          court.

          In the event that legal action is brought by either party against the other in the Courts (including action to enforce or
          interpret any aspect of this agreement), the prevailing party shall be reimbursed by the other for the prevailing party’s
          legal costs, in addition to whatever other judgments or settlement sums, if any, may be due. Such legal costs shall
          include, but not be limited to, reasonable attorney’s fees, court costs, expert witness fees, and other documents
          expenses, in addition to any other relief to which it may be entitled.

          Neither party will be responsible to the other for special or consequential damages including but not limited to, loss of
          profits, loss of investment or business interruption. The Subconsultant also agrees to seek recourse only against
          Symbiont and not its officers, employees, directors, or shareholders.

          Article 12. Choice of Law

          This Agreement shall be governed and construed in accordance with the laws of the State of New Jersev-Wisoonsin.
          without reference to conflicts of law principles.
          federal courts located in Milwaukee County, Wisconsin for any-actions, suits or proceedings arising out of or relating to
          this Agreement

          Article 13. Insurance

          The Subconsultant declares and shall submit an insurance certificate that it maintains the following insurance coverage:

                   A, Workers’ Compensation:
                          of a form and in an amount as required by state law

                   B. Employer’s Liability:
                          $1,000,000 per accident
                          $1,000,000 disease, policy limit
                          $1,000,000 disease, each employee




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            C. Commercial General Liability (bodily injury and property damage - combined single limit):
                  $1,000,000 per occurrence
                  $2,000,000 aggregate

            D. Contractor’s Pollution Liability:
                    $1,000,000 per occurrence

           E. Automobile Liability (owned, non-owned and hired vehicles):
                   $1,000,000 combined single limit

           F. Professional Liability:
                   $1,000,000 per occurrence

           G. Excess/Umbrella Liability:
                  $2,000,000 per occurrence
                  $2,000,000 aggregate

  Symbiont and Owner shall be named as an additional insured with respect to Subconsultant’s insurance policies
  described in lines C, D, E, and G above and Subconsultant waives subrogation against Owner and Symbiont as to all
  policies above and the Subconsultant shall furnish Symbiont with a Certificate evidencing the same.

  All insurance certificates shall state that the insurance carrier will give Symbiont thirty (30) days notice of any
  cancellation or material change of the policies.

  Any deductibles or self-insured retentions must be declared to and approved by Symbiont. At the option of Symbiont,
  either: the insurer shall reduce to a maximum of $50,000 or eliminate such deductibles or self-insured retentions as
  respects Symbiont, its officials and employees or provide satisfactory financial evidence to Symbiont of the
  Subconsultant's ability to fund the deductible amount if necessary. Any self-insured retention or deductible amount on
  the policy shall not reduce the amount of collectible limits of liability.

  If any of the aforementioned insurance policies are written on a claims-made basis, the Subconsultant warrants that
  continuous coverage will be maintained or an extended discovery period will be exercised for a period of one vear-five
  years beginning from the time the work under this contract is completed.

  The insurance companies providing the coverage shall maintain a minimum A.M. Best financial rating of at least A —.

  Subconsultant agrees to indemnify and save Symbiont harmless from and against all liability, loss or expense (including
  costs and attorneys’ fees) arising out of or in consequence of Subconsultant’s failure to obtain the required coverages
  or to meet the other insurance requirements of this Agreement.

  Neither Symbiont’s failure to require or to insist upon certificates or other evidence of insurance, nor Symbiont’s
  acceptance of a certificate or other evidence of insurance showing a variance from the specified coverage, changes or
  waives Subconsultant’s obligation to comply with the insurance specifications of this Agreement.

  Symbiont may, at its sole discretion, withhold payment to Subconsultant for failure of to provide a Certificate of
  Insurance. Symbiont’s payment to Subconsultant shall not change or waive Subconsultant’s obligation to comply with
  the insurance specifications of this Agreement.

  Article 14. Indemnification

  Symbiont and the Subconsultant mutually agree, to the fullest extent permitted by law, to indemnify and hold each other
  harmless from any and all damage, liability or cost (including reasonable attorneys’ fees and costs of defense) arising
  from their own negligent acts, errors or omissions in the performance of their services/work under this Agreement, to
  the extent that each party is responsible for such damages and losses on a comparative basis of fault.

  Subconsultant agrees, to the fullest extent permitted by law, to indemnify and hold Symbiont harmless from any and all
  damage, liability or cost (including reasonable attorneys' fees and costs of defense) arising from any lower-tier
  subconsultant's or subcontractor’s negligent acts, errors or omissions in the performance of their services/work under
  this Agreement, to the extent that such lower-tier subconsultant or subcontractor is responsible for such damages and
  losses.



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       Article 15. Safety

       Subconsultant shall take reasonable precautions to perform the Scope of Work in a safe manner and is responsible for
       initiating, maintaining, and supervising all safety precautions and programs in connection with the Subconsultant's work.
       Subconsultant will be solely responsible for working conditions on those portions of the Project job site reasonably
       within Subconsultant’s work area, including the safety of all persons and property during performance of the Scope of
       Work, in addition to providing any and all safety equipment or articles necessary to protect its employees and agents
       and to comply with applicable OSHA regulations and requirements of the Owner of the Project job site. Any monitoring
       of Subconsultant's procedures conducted by Symbiont will not include a review of the adequacy of Subconsultant’s
       safety measures in, on, adjacent to, or near any Project job site. Symbiont's responsibility for Project job site safety is
       limited solely to its own employees and the provision of appropriate training, supervision and personal protective
       equipment for those employees.

       An expression of concern by Symbiont regarding the Subconsultant’s safety practices shall not be construed as
       usurping the responsibility of the Subconsultant for the safety of the Subconsultant's work.

       Article 16. Assignment/Lower-Tier Subconsultants

       This Agreement and the rights and duties hereunder shall not be assigned, subcontracted, or transferred by
       Subconsultant, in whole or in part, without Symbiont’s prior written approval. Subconsultant shall inform Symbiont in
       writing of the names of persons or entities (including those who are to furnish materials or equipment fabricated to a
       special design) proposed for any portion of the work subject to this Agreement. If Symbiont objects to any lower-tier
       subconsultant or supplier, such objection will be given in writing to Subconsultant within a reasonable period of time,
       specifying the basis for the objection. Subconsultant shall not contract with a lower-tier subconsultant or supplier
       reasonably objected to by Symbiont.

      Prior to Symbiont’s payment of progress payments and/or the final payment to Subconsultant, Subconsultant shall
      deliver proof satisfactory to Symbiont of full payment to all lower-tier subconsultants, suppliers, and for all labor,
      materials, supplies, machinery and equipment furnished for or used in performance of the Scope of Work identified in
      this Agreement. Such proof will include all necessary releases or waivers of liens supported by affidavits, all satisfactory
      to Symbiont, establishing that all liens and rights to claim liens which could arise out of performance of this Agreement,
      have been waived.

I     So Iona as Subcontractor has been paid on a timely basis for un-contested completed work. Subconsultant shall take
      all actions within its control (including the execution, acknowledgement, delivery and filing of such waivers, releases
      and other documents) to prevent any mechanics’ or materialmen’s liens or any other liens or encumbrances from being
      filed in respect of or placed upon any real property or improvements owned or leased by Symbiont or Owner as a result
      of or in connection with any work performed by or any other action or omission on the part of Subconsultant or any
      lower-tier subconsultants or suppliers or other person claiming by, through or under Subconsultant including, but not
      limited to, any liens or encumbrances arising by reason of the construction, use, occupancy, maintenance, repair or
      rebuilding of any such property or improvements or the furnishing of any labor, materials or supplies. If, notwithstanding
      the immediately preceding sentence, any mechanics’ or materialmen’s lien or other lien or encumbrance is filed in
      respect of or placed upon such property or improvements and if Subconsultant does not cause such lien or
      encumbrance to be fully and effectively released and discharged, or does not cause such lien or encumbrance to be
      bonded over in a manner acceptable to Symbiont and Owner, Symbiont shall be entitled, without prejudice to any other
      rights or remedies available to it, to pay directly to the holder of such lien or encumbrance all sums necessary to obtain
      its immediate release and discharge and to credit all sums so paid against any amount due or to become due to
      Subconsultant under or in connection with this Agreement or any other agreement with Subconsultant.

      Article 17. Communication with Owner

      All of the Subconsultant’s written or verbal communication with or to the Owner, or with federal, state, or local agencies,
      relative to work under this Agreement must be through or with knowledge of Symbiont.

      Article 18. Copies of Data

      Unless otherwise called for in the Scope of Work, one legible copy each of all notes, field notes, drawings, prints, and
      plans prepared under the terms of the Subconsulting Agreement shall be delivered by the Subconsultant to Symbiont
      upon completion of the Scope of Work or termination of the Agreement.




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       Article 19. Soliciting Employment

       Neither party to this Subconsultant Agreement shall solicit an employee of the other party, nor hire or make an offer of
       employment to an employee of the other party, without prior written consent of the other party, during the time this
       Subconsultant Agreement is in effect.

       Article 20. Waiver

       No waiver by Symbiont of any term or condition set forth herein, whether by conduct or otherwise, in any one or more
       instances, shall be deemed or construed as a further or continuing waiver of any such term, condition or breach or a
       waiver of any other term, condition or breach.

      Article 21. Headings

      The subject headings in this Agreement are for convenience only and are not determinative of the substance of the
      subject clause.

      Article 22. Entire Agreement

      The parties agree that this Agreement, together with Attachment 1, represents the sole and entire integrated Agreement
      of the parties with respect to the project and supersedes all prior communications, negotiations, representations,
      quotations, offers or agreements, either written or oral between the parties hereto, with respect to the subject matter
      hereof, and no agreement or understanding varying or extending this Agreement shall be binding upon either Party,
      other than by a written agreement signed by both Subconsultant and Symbiont. If additional documents represent the
      agreement of the parties, such documents must be itemized, referencing this Article 22, in Attachment 1.

      Article 23. Severability

      If any provision or part of a provision of this Agreement is declared to be invalid by any tribunal of competent jurisdiction,
      such part shall be deemed automatically adjusted, if possible, to conform to the requirements for validity, but if such
      adjustment is not possible, it shall be deemed deleted from this Agreement as though it had never been included herein.
      In either case, the balance of any such provision and of this Agreement shall remain in full force and effect.

      Article 24. Change Orders

      Any amendments to this Agreement shall be executed by means of a written change order, signed by the Subconsultant
      and Symbiont. Changes to the Agreement will not become effective until the change order has been signed by both
      parties. The change order will document the specific changes to the Agreement along with any resulting adjustment in
      cost and/or schedule.

      IN WITNESS WHEREOF, the parties have executed this Agreement including Attachment 1, which includes a
      description of the scope of work, schedule, method of compensation, and Supplemental Terms and Conditions of
      Agreement (if any), and is incorporated by reference into these Terms and Conditions of Agreement. This Agreement
      may be executed in counterparts, each of which shall constitute an original, but both of which when taken together shall
      constitute one and the same agreement. The parties agree that a counterpart of this Agreement may be executed by
      a party and then delivered to the other party by facsimile or other electronic means, and such facsimile or other
      electronic copy will constitute an original counterpart. The signatories below represent that they are duly authorized by
      the business entities they represent to sign this Agreement. The effective date of this Agreement is the later of the
      signature dates below.




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        Subconsultant: Ground Improvement Services, Inc.



                                                               Chief Operating Officer
                                      &                                                           2/8/18
         Name: Kenn                                           Title                               Date

        Symbiont Design-Build, LLC:




         Name:
                                                                                                   0
                                                              Title                               Date

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                                                      ATTACHMENT 1
                                              TO SYMBIONT® DESIGN-BUILD, LLC
                                                     SUBCONSULTANT
                                            PROFESSIONAL SERVICES AGREEMENT


          Project Name                  Trenton Biogas
                                        Digester Foundation Design and Permitting Assistance


          Project No.                   DB180999


          Subcontractor                Ground Improvement Services, Inc.
                                       PO Box 918
                                       Purcellville, VA 20134
                                       Steward Station. PM
                                       703-869-7495
                                       Attn: Kurt Levins, P.E.
                                       862 763-0468

          Owner                        Trenton Biogas, LLC


          Site Location                Trenton Biogas
                                       1600 Lamberton Road
                                       Trenton, NJ 08611


          Scope of Work                Scope of work shall consist of soil improvement system design services as
                                       summarized in Ground Improvement Services, Inc. quote dated 01/30/18 for three
                                       (3) digester tanks and one buffer tank for the proposed Trenton Biogas Facility in
                                       Trenton, NJ. All design documents shall be stamped by a registered professional
                                       engineer licensed in the state of New Jersey. The deliverable for this project shall be
                                       stamped design drawings and calculations for use by the Owner to obtain a
                                       construction permit from the local permitting authority.


          Compensation                 Lump sum fee of $47,800

                                       Provide invoices to the attention of Brian Till that identify the Symbiont project number
                                       DB180999 and delineates the scope of work provided.


          Schedule                     Time is of the essence. All design work must be completed within two weeks of
                                       receipt of final design loads.


          Supplemental Conditions           1.   The Owner is an intended third-party beneficiary to this Agreement. This
                                                 Agreement is assignable to Owner, without further consent or approval by
                                                 Subconsultant, upon Owner’s written request following default by Symbiont
                                                 or termination or expiration of the Contract between Owner and Symbiont.
                                           2.    Subconsultant shall enter into a new contract directly with the Owner on
                                                 the same terms and conditions as this Agreement in the event that any
                                                 trustee in bankruptcy for Symbiont rejects this Agreement, or the
                                                 Subconsultant terminates this Agreement as a result of the bankruptcy of
                                                 Symbiont.



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                                        3.   Subconsultant shall provide reasonable cooperation and further
                                             assurances in connection with Owner’s efforts to obtain debt and/or equity
                                             financing for the Project facility as Owner shall reasonably request and
                                             shall use commercially reasonable efforts to cause its iower-tier
                                             subcontractors to do the same. Without limiting the foregoing, within
                                             twenty (20) business days after Owner's written request, Subconsultant
                                             shall execute and deliver to Owner a written consent in a form satisfactory
                                             to Owner, and such consents to assignment and related agreements as
                                             shall be typical in project finance transactions on the form customarily used
                                             by such financing parties, for the benefit of Owner's financing parties, in
                                             either case together with such changes as the financing parties shall
                                             reasonably request. Any costs (including reasonable attorney's fees)
                                             incurred by Subconsultant in connection with complying with the terms of
                                             this provision, including any legal opinions required to support any such
                                             financing party consents, shall be at Owner’s costs and shall be in addition
                                             to the Compensation in Attachment 1 of this Agreement.
                                        4.   Article 16-Insurance. Item F, Professional Liability. Subconsultant shall
                                             provide an insurance certificate with $5,000,000 per occurrence of
                                             Professional Liability Insurance.




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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  SYMBIONT SCIENCE, ENGINEERING
  AND CONSTRUCTION, INC.; ZURICH
  AMERICAN INSURANCE COMPANY
  a/s/o Symbiont Science, Engineering and
  Construction, Inc.; AMERICAN
  GUARANTEE AND LIABILITY
  INSURANCE COMPANY, a/s/o Symbiont                  CIVIL ACTION NO. 3:22-04905
  Science, Engineering and Construction, Inc.
                                                     CERTIFICATE OF FILING AND
  and STEADFAST INSURANCE
                                                     SERVICE
  COMPANY a/s/o Symbiont Science,
  Engineering and Construction, Inc.,

  Plaintiffs

  vs.

  GROUND IMPROVEMENT SERVICES,
  INC.; JOHN DOES 1-10, (fictitious parties)
  and ABC COMPANIES 1-10 (fictitious
  parties); GEOSTRUCTURES OF VIRGINIA,
  INC.

  Defendants.

         I hereby certify that on October 12, 2022, a copy of the foregoing which was

 electronically filed and served by mail on anyone unable to accept electronic filing. Notice of

 this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system

 or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

 Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                s/Daniel C. Theveny
                                                 Daniel C. Theveny (046701984)




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